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                    A
                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JANE DOE, an individual                                    )
                                                           )
       Plaintiff,                                          )       Case No.
                                                           )
       v.                                                  )       JURY DEMAND
                                                           )
CITY OF OTTAWA, a Municipality,                            )
BRENT A. ROALSON, in his individual and official           )
capacity, JAMES LESS, in his individual and                )
official capacity, STEPHANIE NELSON, in her                )
individual and official capacity, KARI WHALEN, in          )
her individual and official capacity, and SCOTT            )
HARDEN, in his individual and official capacity            )
                                                           )
       Defendants                                          )


                                     COMPLAINT AT LAW

       NOW COMES the Plaintiff, JANE DOE, an individual proceeding, by and through her

attorneys at Taxman, Pollock, Murray & Bekkerman, LLC and for her Complaint at Law against

CITY OF OTTAWA, a Municipality, BRENT A. ROALSON, in his individual and official

capacity, JAMES LESS, in his individual and official capacity, STEPHANIE NELSON, in her

individual and official capacity, KARI WHALEN, in her individual and official capacity, and

SCOTT HARDEN, in his individual and official capacity, states as follows:

                                          PARTIES

       1.      On April 24, 2022 and at all times relevant, JANE DOE was lawful resident of the

City of Ottawa, County of LaSalle.

       2.      On April 24, 2022 and at all times relevant, Defendant CITY OF OTTAWA was a

municipality in LaSalle County and acted under the color of law.




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       3.       On April 24, 2022 and at all times relevant, Defendant CITY OF OTTAWA

Municipal Code 50-31 created an executive department of the municipal government of the city

which was known as the police department and acted under the color of law.

       4.       On April 24, 2022 and at all times relevant, Defendant BRENT A. ROALSON

served as Chief of Police of Defendant CITY OF OTTAWA and acted under the color of law.

       5.       On April 24, 2022 and at all times relevant, Defendant JAMES J. LESS served as

Commissioner of Public Health and Safety of Defendant CITY OF OTTAWA and acted under the

color of law.

       6.       On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

served as a police officer of Defendant CITY OF OTTAWA and acted under the color of law.

       7.       On April 24, 2022 and at all times relevant, Defendant KARI WHALEN served as

a police officer of Defendant CITY OF OTTAWA and acted under the color of law.

       8.       On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN served

as a police officer of Defendant CITY OF OTTAWA and acted under the color of law.

                                JURIDSICTION AND VENUE

       9.       This action arises under the Constitution of the United States, particularly the

Fourth and Fourteenth Amendments to the Constitution of the United States, under the laws of the

United States, particularly the Civil Rights Act, Title 42 of the United States Code, Sections 1983

and 1988, and under the laws of the State of Illinois.

       10.      The jurisdiction of this Court is invoked under the provisions of Title 28 of the

United States Code, Sections 1331 and 1343. Plaintiff also invokes the supplemental jurisdiction

of this Court pursuant to Title 28 of the United States Code, Section 1367.




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        11.     Venue is proper in the United States District Court for the Northern District of

Illinois, Eastern Division, under Title 28 of the United States Code, Section 1391(b)(2), as the

events complained of occurred within this district.

                                 GENERAL ALLEGATIONS

        12.     This case arises from the non-consensual capturing, dissemination, and publication

of nude videos and photographs of JANE DOE.

        13.     On April 24, 2022, Plaintiff was arrested and detained by Defendant KARI

WHALEN and Defendant SCOTT HARDEN on allegations of driving under the influence.

        14.     On April 24, 2022, Plaintiff was transported by Defendant KARI WHALEN to the

Police Station of Defendant CITY OF OTTAWA.

        15.     On April 24, 2022, cameras in the Police Station of Defendant CITY OF OTTAWA

recorded video and audio footage inside the police station.

        16.     On April 24, 2022, cameras in the Police Station of Defendant CITY OF OTTAWA

captured video footage of the Plaintiff while she was partially and totally nude.

        17.     Upon information and belief, the individual Defendants, individually and in their

official capacities, and other agents, apparent agents, employees, and/or officials of Defendant

CITY OF OTTAWA captured and retained, with personal cellular devices, nude videos and

photographs from the video recordings that were taken by Defendant CITY OF OTTAWA cameras

inside the police station.

        18.     Upon information and belief, the individual Defendants, individually and in their

official capacities, and other agents, apparent agents, employees, and/or officials of Defendant

CITY OF OTTAWA texted, e-mailed, and otherwise published and disseminated these nude

videos and photographs amongst each other and the general public.



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          19.   JANE DOE did not and does not consent to said capturing and retention of nude

videos and photographs.

          20.   JANE DOE did not and does not consent to said publication of nude videos and

photographs.

          21.   JANE DOE did not and does not consent to said dissemination of nude videos and

photographs.

                            Count I – Fourth Amendment Violation
                              JANE DOE v. BRENT ROALSON

          22.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          23.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to

privacy under the Fourth Amendment of the United States Constitution.

          24.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON acted

in his official capacity and under the color of law.

          25.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on his personal cellular device.

          26.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          27.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourth Amendment of the United States Constitution by disseminating nude videos

and photographs of Plaintiff JANE DOE.




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          28.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant BRENT ROALSON in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                            Count II – Eighth Amendment Violation
                              JANE DOE v. BRENT ROALSON

          29.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          30.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free of cruel and unusual punishment under the Eighth Amendment of the United States

Constitution.

          31.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON acted

in his official capacity and under the color of law.

          32.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Eighth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on his personal cellular device.

          33.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Eighth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.




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          34.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Eighth Amendment of the United States Constitution by disseminating nude videos

and photographs of Plaintiff JANE DOE.

          35.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant BRENT ROALSON in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                         Count III – Fourteenth Amendment Violation
                              JANE DOE v. BRENT ROALSON

          36.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          37.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free from discrimination on the basis of sex under the Fourteenth Amendment of the United States

Constitution.

          38.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON acted

in his official capacity and under the color of law.

          39.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was a female.

          40.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourteenth Amendment of the United States Constitution by capturing and retaining

nude videos and photographs of Plaintiff JANE DOE on his personal cellular device.




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          41.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

captured nude videos and photographs of Plaintiff JANE DOE because she was a female.

          42.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourteenth Amendment of the United States Constitution by publishing nude videos

and photographs of Plaintiff JANE DOE.

          43.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

published nude videos and photographs of Plaintiff JANE DOE because she was a female.

          44.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Fourteenth Amendment of the United States Constitution by disseminating nude

videos and photographs of Plaintiff JANE DOE.

          45.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

disseminated nude videos and photographs of Plaintiff JANE DOE because she was a female.

          46.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant BRENT ROALSON in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                          Count IV – Common Law Privacy Violation
                              JANE DOE v. BRENT ROALSON

          47.   Each and every allegation of this complaint is incorporated as if restated fully

herein.




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         48.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was afforded a

right to privacy by the common law.

         49.   On April 24, 2022 and at all times relevant, a reasonable person would be deeply

offended by the publicity of their own nude videos and photographs.

         50.   On April 24, 2022 and at all times relevant, the public had no legitimate interest in

nude videos and photographs of Plaintiff JANE DOE.

         51.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 5 ILCS 140, titled “Freedom of Information Act.”

         52.   On April 24, 2022 and at all times relevant, 5 ILCS 140/7(1)(c) creates an

exemption to the disclosure of “personal information contained within public records, the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

         53.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 720 ILCS 5/11-23.5, titled “Non-consensual Dissemination of Private Sexual Images.”

         54.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was above the age

of 18.

         55.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was identifiable

in the video and photographs.

         56.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had intimate parts

exposed in whole and in part in the video and images.

         57.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

obtained the image under circumstances in which a reasonable person would know or understand

that the videos and images were to remain private.




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          58.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON knew

or should have known that the Plaintiff JANE DOE had not consented to the dissemination of the

videos and images.

          59.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated Plaintiff’s common law right to privacy by capturing and retaining nude videos and

photographs of Plaintiff JANE DOE on his personal cellular device.

          60.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated Plaintiff’s common law right to privacy by publishing nude videos and photographs of

Plaintiff JANE DOE.

          61.   On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON

violated the Plaintiff’s common law right to privacy by disseminating of nude videos and

photographs of Plaintiff JANE DOE.

          62.   As a proximate cause of said violation of Plaintiff’s common law right to privacy,

the Plaintiff, JANE DOE, suffered and continues to suffer injury, including but not limited

emotional distress, public embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant BRENT ROALSON in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                                      Count V – IIED
                                JANE DOE v. BRENT ROALSON

          63.   Each and every allegation of this complaint is incorporated as if restated fully

herein.




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       64.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON’s

conduct was extreme and outrageous when he captured nude videos and photographs of Plaintiff

JANE DOE on his personal cellular device.

       65.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON’s

conduct was extreme and outrageous when he published nude videos and photographs of Plaintiff

JANE DOE.

       66.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON’s

conduct was extreme and outrageous when he disseminated nude videos and photographs of

Plaintiff JANE DOE.

       67.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON knew

that there was a high probability that capturing nude videos and photographs of Plaintiff JANE

DOE on his personal cellular device would cause severe emotional distress.

       68.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON knew

that there was a high probability that publication of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

       69.     On April 24, 2022 and at all times relevant, Defendant BRENT ROALSON knew

that there was a high probability that dissemination of nude videos and photographs of Plaintiff

JANE DOE would cause severe emotional distress.

       70.     Thereafter and upon learning of Defendant BRENT ROALSON’s extreme and

outrageous conduct, Plaintiff JANE DOE was in fact caused to suffer severe emotional distress.

       71.     As a proximate cause of said extreme and outrageous conduct, the Plaintiff, JANE

DOE, suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.



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          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant BRENT ROALSON in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                           Count VI – Fourth Amendment Violation
                                 JANE DOE v. JAMES LESS

          72.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          73.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to

privacy under the Fourth Amendment of the United States Constitution.

          74.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS acted in his

official capacity and under the color of law.

          75.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourth Amendment of the United States Constitution by capturing and retaining nude videos and

photographs of Plaintiff JANE DOE on his personal cellular device.

          76.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourth Amendment of the United States Constitution by publishing nude videos and photographs

of Plaintiff JANE DOE.

          77.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          78.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.


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          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant JAMES LESS in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                           Count VII – Eighth Amendment Violation
                                 JANE DOE v. JAMES LESS

          79.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          80.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free of cruel and unusual punishment under the Eighth Amendment of the United States

Constitution.

          81.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS acted in his

official capacity and under the color of law.

          82.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Eighth Amendment of the United States Constitution by capturing and retaining nude videos and

photographs of Plaintiff JANE DOE on his personal cellular device.

          83.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Eighth Amendment of the United States Constitution by publishing nude videos and photographs

of Plaintiff JANE DOE.

          84.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Eighth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.




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          85.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant JAMES LESS in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                        Count VIII – Fourteenth Amendment Violation
                                JANE DOE v. JAMES LESS

          86.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          87.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free from discrimination on the basis of sex under the Fourteenth Amendment of the United States

Constitution.

          88.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS acted in his

official capacity and under the color of law.

          89.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was a female.

          90.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourteenth Amendment of the United States Constitution by capturing and retaining nude videos

and photographs of Plaintiff JANE DOE on his personal cellular device.

          91.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS captured nude

videos and photographs of Plaintiff JANE DOE because she was a female.




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          92.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourteenth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          93.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS published

nude videos and photographs of Plaintiff JANE DOE because she was a female.

          94.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Fourteenth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          95.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS disseminated

nude videos and photographs of Plaintiff JANE DOE because she was a female.

          96.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant JAMES LESS in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                          Count IX – Common Law Privacy Violation
                                 JANE DOE v. JAMES LESS

          97.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          98.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was afforded a

right to privacy by the common law.




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         99.    On April 24, 2022 and at all times relevant, a reasonable person would be deeply

offended by the publicity of their own nude videos and photographs.

         100.   On April 24, 2022 and at all times relevant, the public had no legitimate interest in

nude videos and photographs of Plaintiff JANE DOE.

         101.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 5 ILCS 140, titled “Freedom of Information Act.”

         102.   On April 24, 2022 and at all times relevant, 5 ILCS 140/7(1)(c) creates an

exemption to the disclosure of “personal information contained within public records, the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

         103.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 720 ILCS 5/11-23.5, titled “Non-consensual Dissemination of Private Sexual Images.”

         104.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was above the age

of 18.

         105.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was identifiable

in the video and photographs.

         106.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had intimate parts

exposed in whole and in part in the video and images.

         107.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS obtained the

image under circumstances in which a reasonable person would know or understand that the videos

and images were to remain private.

         108.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS knew or

should have known that the Plaintiff JANE DOE had not consented to the dissemination of the

videos and images.



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          109.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated

Plaintiff’s common law right to privacy by capturing and retaining nude videos and photographs

of Plaintiff JANE DOE on his personal cellular device.

          110.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated

Plaintiff’s common law right to privacy by publishing nude videos and photographs of Plaintiff

JANE DOE.

          111.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS violated the

Plaintiff’s common law right to privacy by disseminating of nude videos and photographs of

Plaintiff JANE DOE.

          112.   As a proximate cause of said violation of Plaintiff’s common law right to privacy,

the Plaintiff, JANE DOE, suffered and continues to suffer injury, including but not limited

emotional distress, public embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant JAMES LESS in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                                       Count X – IIED
                                   JANE DOE v. JAMES LESS

          113.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          114.   On April 24, 2022 and at all times relevant, Defendant JAMES LESS’s conduct

was extreme and outrageous when he captured nude videos and photographs of Plaintiff JANE

DOE on his personal cellular device.




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       115.    On April 24, 2022 and at all times relevant, Defendant JAMES LESS’s conduct

was extreme and outrageous when he published nude videos and photographs of Plaintiff JANE

DOE.

       116.    On April 24, 2022 and at all times relevant, Defendant JAMES LESS’s conduct

was extreme and outrageous when he disseminated nude videos and photographs of Plaintiff JANE

DOE.

       117.    On April 24, 2022 and at all times relevant, Defendant JAMES LESS knew that

there was a high probability that capturing nude videos and photographs of Plaintiff JANE DOE

on his personal cellular device would cause severe emotional distress.

       118.    On April 24, 2022 and at all times relevant, Defendant JAMES LESS knew that

there was a high probability that publication of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

       119.    On April 24, 2022 and at all times relevant, Defendant JAMES LESS knew that

there was a high probability that dissemination of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

       120.    Thereafter and upon learning of Defendant JAMES LESS’s extreme and

outrageous conduct, Plaintiff JANE DOE was in fact caused to suffer severe emotional distress.

       121.    As a proximate cause of said extreme and outrageous conduct, the Plaintiff, JANE

DOE, suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

       WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant JAMES LESS in an amount in excess of $75,000 that will fairly and




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adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                            Count XI – Fourth Amendment Violation
                             JANE DOE v. STEPHANIE NELSON

          122.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          123.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to

privacy under the Fourth Amendment of the United States Constitution.

          124.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

acted in her official capacity and under the color of law.

          125.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on her personal cellular device.

          126.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          127.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourth Amendment of the United States Constitution by disseminating nude videos

and photographs of Plaintiff JANE DOE.

          128.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant STEPHANIE NELSON in an amount in excess of $75,000 that will fairly


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and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                           Count XII – Eighth Amendment Violation
                             JANE DOE v. STEPHANIE NELSON

          129.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          130.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free of cruel and unusual punishment under the Eighth Amendment of the United States

Constitution.

          131.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

acted in her official capacity and under the color of law.

          132.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Eighth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on her personal cellular device.

          133.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Eighth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          134.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Eighth Amendment of the United States Constitution by disseminating nude videos

and photographs of Plaintiff JANE DOE.

          135.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.




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          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant STEPHANIE NELSON in an amount in excess of $75,000 that will fairly

and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                         Count XIII – Fourteenth Amendment Violation
                             JANE DOE v. STEPHANIE NELSON

          136.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          137.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free from discrimination on the basis of sex under the Fourteenth Amendment of the United States

Constitution.

          138.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

acted in her official capacity and under the color of law.

          139.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was a female.

          140.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourteenth Amendment of the United States Constitution by capturing and retaining

nude videos and photographs of Plaintiff JANE DOE on her personal cellular device.

          141.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

captured nude videos and photographs of Plaintiff JANE DOE because she was a female.

          142.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourteenth Amendment of the United States Constitution by publishing nude videos

and photographs of Plaintiff JANE DOE.

          143.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

published nude videos and photographs of Plaintiff JANE DOE because she was a female.


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          144.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Fourteenth Amendment of the United States Constitution by disseminating nude

videos and photographs of Plaintiff JANE DOE.

          145.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

disseminated nude videos and photographs of Plaintiff JANE DOE because she was a female.

          146.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant STEPHANIE NELSON in an amount in excess of $75,000 that will fairly

and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                          Count XIV – Common Law Privacy Violation
                             JANE DOE v. STEPHANIE NELSON

          147.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          148.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was afforded a

right to privacy by the common law.

          149.   On April 24, 2022 and at all times relevant, a reasonable person would be deeply

offended by the publicity of their own nude videos and photographs.

          150.   On April 24, 2022 and at all times relevant, the public had no legitimate interest in

nude videos and photographs of Plaintiff JANE DOE.

          151.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 5 ILCS 140, titled “Freedom of Information Act.”

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         152.   On April 24, 2022 and at all times relevant, 5 ILCS 140/7(1)(c) creates an

exemption to the disclosure of “personal information contained within public records, the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

         153.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 720 ILCS 5/11-23.5, titled “Non-consensual Dissemination of Private Sexual Images.”

         154.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was above the age

of 18.

         155.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was identifiable

in the video and photographs.

         156.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had intimate parts

exposed in whole and in part in the video and images.

         157.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

obtained the image under circumstances in which a reasonable person would know or understand

that the videos and images were to remain private.

         158.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

knew or should have known that the Plaintiff JANE DOE had not consented to the dissemination

of the videos and images.

         159.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated Plaintiff’s common law right to privacy by capturing and retaining nude videos and

photographs of Plaintiff JANE DOE on her personal cellular device.

         160.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated Plaintiff’s common law right to privacy by publishing nude videos and photographs of

Plaintiff JANE DOE.



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          161.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

violated the Plaintiff’s common law right to privacy by disseminating of nude videos and

photographs of Plaintiff JANE DOE.

          162.   As a proximate cause of said violation of Plaintiff’s common law right to privacy,

the Plaintiff, JANE DOE, suffered and continues to suffer injury, including but not limited

emotional distress, public embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant STEPHANIE NELSON in an amount in excess of $75,000 that will fairly

and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                                     Count XV – IIED
                              JANE DOE v. STEPHANIE NELSON

          163.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          164.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON’s

conduct was extreme and outrageous when he captured nude videos and photographs of Plaintiff

JANE DOE on her personal cellular device.

          165.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON’s

conduct was extreme and outrageous when he published nude videos and photographs of Plaintiff

JANE DOE.

          166.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON’s

conduct was extreme and outrageous when he disseminated nude videos and photographs of

Plaintiff JANE DOE.




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          167.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

knew that there was a high probability that capturing nude videos and photographs of Plaintiff

JANE DOE on her personal cellular device would cause severe emotional distress.

          168.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

knew that there was a high probability that publication of nude videos and photographs of Plaintiff

JANE DOE would cause severe emotional distress.

          169.   On April 24, 2022 and at all times relevant, Defendant STEPHANIE NELSON

knew that there was a high probability that dissemination of nude videos and photographs of

Plaintiff JANE DOE would cause severe emotional distress.

          170.   Thereafter and upon learning of Defendant STEPHANIE NELSON’s extreme and

outrageous conduct, Plaintiff JANE DOE was in fact caused to suffer severe emotional distress.

          171.   As a proximate cause of said extreme and outrageous conduct, the Plaintiff, JANE

DOE, suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant STEPHANIE NELSON in an amount in excess of $75,000 that will fairly

and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                           Count XVI – Fourth Amendment Violation
                                JANE DOE v. KARI WHALEN

          172.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          173.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to

privacy under the Fourth Amendment of the United States Constitution.


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          174.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN acted in

her official capacity and under the color of law.

          175.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourth Amendment of the United States Constitution by capturing and retaining nude videos

and photographs of Plaintiff JANE DOE on her personal cellular device.

          176.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          177.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          178.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant KARI WHALEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                          Count XVII – Eighth Amendment Violation
                                JANE DOE v. KARI WHALEN

          179.   Each and every allegation of this complaint is incorporated as if restated fully

herein.




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       180.     On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free of cruel and unusual punishment under the Eighth Amendment of the United States

Constitution.

       181.     On April 24, 2022 and at all times relevant, Defendant KARI WHALEN acted in

her official capacity and under the color of law.

       182.     On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Eighth Amendment of the United States Constitution by capturing and retaining nude videos

and photographs of Plaintiff JANE DOE on her personal cellular device.

       183.     On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Eighth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

       184.     On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Eighth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

       185.     As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

       WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant KARI WHALEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                       Count XVIII – Fourteenth Amendment Violation
                              JANE DOE v. KARI WHALEN




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          186.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          187.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free from discrimination on the basis of sex under the Fourteenth Amendment of the United States

Constitution.

          188.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN acted in

her official capacity and under the color of law.

          189.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was a female.

          190.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourteenth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on her personal cellular device.

          191.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN captured

nude videos and photographs of Plaintiff JANE DOE because she was a female.

          192.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourteenth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          193.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN published

nude videos and photographs of Plaintiff JANE DOE because she was a female.

          194.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Fourteenth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          195.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN

disseminated nude videos and photographs of Plaintiff JANE DOE because she was a female.



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          196.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant KARI WHALEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                          Count XIX – Common Law Privacy Violation
                                JANE DOE v. KARI WHALEN

          197.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          198.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was afforded a

right to privacy by the common law.

          199.   On April 24, 2022 and at all times relevant, a reasonable person would be deeply

offended by the publicity of their own nude videos and photographs.

          200.   On April 24, 2022 and at all times relevant, the public had no legitimate interest in

nude videos and photographs of Plaintiff JANE DOE.

          201.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 5 ILCS 140, titled “Freedom of Information Act.”

          202.   On April 24, 2022 and at all times relevant, 5 ILCS 140/7(1)(c) creates an

exemption to the disclosure of “personal information contained within public records, the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

          203.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 720 ILCS 5/11-23.5, titled “Non-consensual Dissemination of Private Sexual Images.”


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         204.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was above the age

of 18.

         205.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was identifiable

in the video and photographs.

         206.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had intimate parts

exposed in whole and in part in the video and images.

         207.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN obtained

the image under circumstances in which a reasonable person would know or understand that the

videos and images were to remain private.

         208.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN knew or

should have known that the Plaintiff JANE DOE had not consented to the dissemination of the

videos and images.

         209.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

Plaintiff’s common law right to privacy by capturing and retaining nude videos and photographs

of Plaintiff JANE DOE on her personal cellular device.

         210.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

Plaintiff’s common law right to privacy by publishing nude videos and photographs of Plaintiff

JANE DOE.

         211.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN violated

the Plaintiff’s common law right to privacy by disseminating of nude videos and photographs of

Plaintiff JANE DOE.




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          212.   As a proximate cause of said violation of Plaintiff’s common law right to privacy,

the Plaintiff, JANE DOE, suffered and continues to suffer injury, including but not limited

emotional distress, public embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant KARI WHALEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                                       Count XX – IIED
                                  JANE DOE v. KARI WHALEN

          213.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          214.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN’s conduct

was extreme and outrageous when he captured nude videos and photographs of Plaintiff JANE

DOE on her personal cellular device.

          215.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN’s conduct

was extreme and outrageous when he published nude videos and photographs of Plaintiff JANE

DOE.

          216.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN’s conduct

was extreme and outrageous when he disseminated nude videos and photographs of Plaintiff JANE

DOE.

          217.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN knew that

there was a high probability that capturing nude videos and photographs of Plaintiff JANE DOE

on her personal cellular device would cause severe emotional distress.




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          218.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN knew that

there was a high probability that publication of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

          219.   On April 24, 2022 and at all times relevant, Defendant KARI WHALEN knew that

there was a high probability that dissemination of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

          220.   Thereafter and upon learning of Defendant KARI WHALEN’s extreme and

outrageous conduct, Plaintiff JANE DOE was in fact caused to suffer severe emotional distress.

          221.   As a proximate cause of said extreme and outrageous conduct, the Plaintiff, JANE

DOE, suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant KARI WHALEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                           Count XXI – Fourth Amendment Violation
                               JANE DOE v. SCOTT HARDEN

          222.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          223.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to

privacy under the Fourth Amendment of the United States Constitution.

          224.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN acted in

his official capacity and under the color of law.




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          225.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourth Amendment of the United States Constitution by capturing and retaining nude videos

and photographs of Plaintiff JANE DOE on his personal cellular device.

          226.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          227.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          228.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant SCOTT HARDEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                           Count XXII – Eighth Amendment Violation
                               JANE DOE v. SCOTT HARDEN

          229.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          230.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free of cruel and unusual punishment under the Eighth Amendment of the United States

Constitution.




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          231.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN acted in

his official capacity and under the color of law.

          232.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Eighth Amendment of the United States Constitution by capturing and retaining nude videos

and photographs of Plaintiff JANE DOE on his personal cellular device.

          233.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Eighth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

          234.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Eighth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

          235.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant SCOTT HARDEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                        Count XXIII – Fourteenth Amendment Violation
                               JANE DOE v. SCOTT HARDEN

          236.   Each and every allegation of this complaint is incorporated as if restated fully

herein.




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       237.     On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had a right to be

free from discrimination on the basis of sex under the Fourteenth Amendment of the United States

Constitution.

       238.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN acted in

his official capacity and under the color of law.

       239.     On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was a female.

       240.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourteenth Amendment of the United States Constitution by capturing and retaining nude

videos and photographs of Plaintiff JANE DOE on his personal cellular device.

       241.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN captured

nude videos and photographs of Plaintiff JANE DOE because she was a female.

       242.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourteenth Amendment of the United States Constitution by publishing nude videos and

photographs of Plaintiff JANE DOE.

       243.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN

published nude videos and photographs of Plaintiff JANE DOE because she was a female.

       244.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Fourteenth Amendment of the United States Constitution by disseminating nude videos and

photographs of Plaintiff JANE DOE.

       245.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN

disseminated nude videos and photographs of Plaintiff JANE DOE because she was a female.




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          246.   As a proximate cause of said Constitutional violation, the Plaintiff, JANE DOE,

suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant SCOTT HARDEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                         Count XXIV – Common Law Privacy Violation
                               JANE DOE v. SCOTT HARDEN

          247.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          248.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was afforded a

right to privacy by the common law.

          249.   On April 24, 2022 and at all times relevant, a reasonable person would be deeply

offended by the publicity of their own nude videos and photographs.

          250.   On April 24, 2022 and at all times relevant, the public had no legitimate interest in

nude videos and photographs of Plaintiff JANE DOE.

          251.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 5 ILCS 140, titled “Freedom of Information Act.”

          252.   On April 24, 2022 and at all times relevant, 5 ILCS 140/7(1)(c) creates an

exemption to the disclosure of “personal information contained within public records, the

disclosure of which would constitute a clearly unwarranted invasion of personal privacy.”

          253.   On April 24, 2022 and at all times relevant, there existed a statute in the State of

Illinois 720 ILCS 5/11-23.5, titled “Non-consensual Dissemination of Private Sexual Images.”


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         254.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was above the age

of 18.

         255.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE was identifiable

in the video and photographs.

         256.   On April 24, 2022 and at all times relevant, Plaintiff JANE DOE had intimate parts

exposed in whole and in part in the video and images.

         257.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN obtained

the image under circumstances in which a reasonable person would know or understand that the

videos and images were to remain private.

         258.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN knew or

should have known that the Plaintiff JANE DOE had not consented to the dissemination of the

videos and images.

         259.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

Plaintiff’s common law right to privacy by capturing and retaining nude videos and photographs

of Plaintiff JANE DOE on his personal cellular device.

         260.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

Plaintiff’s common law right to privacy by publishing nude videos and photographs of Plaintiff

JANE DOE.

         261.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN violated

the Plaintiff’s common law right to privacy by disseminating of nude videos and photographs of

Plaintiff JANE DOE.




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          262.   As a proximate cause of said violation of Plaintiff’s common law right to privacy,

the Plaintiff, JANE DOE, suffered and continues to suffer injury, including but not limited

emotional distress, public embarrassment, and reputational harm.

          WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant SCOTT HARDEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                                      Count XXV – IIED
                                 JANE DOE v. SCOTT HARDEN

          263.   Each and every allegation of this complaint is incorporated as if restated fully

herein.

          264.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN’s

conduct was extreme and outrageous when he captured nude videos and photographs of Plaintiff

JANE DOE on his personal cellular device.

          265.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN’s

conduct was extreme and outrageous when he published nude videos and photographs of Plaintiff

JANE DOE.

          266.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN’s

conduct was extreme and outrageous when he disseminated nude videos and photographs of

Plaintiff JANE DOE.

          267.   On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN knew

that there was a high probability that capturing nude videos and photographs of Plaintiff JANE

DOE on his personal cellular device would cause severe emotional distress.




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       268.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN knew

that there was a high probability that publication of nude videos and photographs of Plaintiff JANE

DOE would cause severe emotional distress.

       269.     On April 24, 2022 and at all times relevant, Defendant SCOTT HARDEN knew

that there was a high probability that dissemination of nude videos and photographs of Plaintiff

JANE DOE would cause severe emotional distress.

       270.     Thereafter and upon learning of Defendant SCOTT HARDEN’s extreme and

outrageous conduct, Plaintiff JANE DOE was in fact caused to suffer severe emotional distress.

       271.     As a proximate cause of said extreme and outrageous conduct, the Plaintiff, JANE

DOE, suffered and continues to suffer injury, including but not limited emotional distress, public

embarrassment, and reputational harm.

       WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant SCOTT HARDEN in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                                Count XXVI - 42 U.S.C. § 1983
              Municipal Liability: Monell against Defendant CITY OF OTTAWA

       272.     Each and every paragraph of this Complaint is incorporated as if fully stated herein

Count XVII.

       273.     The misconduct described in Counts I-XXVI was undertaken under the policy and

practice of the Defendant CITY OF OTTAWA in that:

                a. As a matter of both policy and practice, these Defendants encourages, and is
                   thereby the moving force behind, the very type of misconduct at issue in counts
                   I-XXVI, including violation of Fourth Amendment privacy rights, cruel and
                   unusual punishment, sexual discrimination, violation of common law privacy
                   rights and intentional infliction of emotional distress, by failing to adequately

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                   train, supervise, control and discipline its officers such that its failure to do so
                   manifests deliberate indifference.

               b. Specifically, Defendant CITY OF OTTAWA has failed, as a matter of policy
                  and practice, to properly train, instruct, and supervise its employees on the right
                  to privacy and other rights afforded the Citizens of the United States and of
                  Illinois under the Fourth Amendment, the Eighth Amendment, the Fourteenth
                  Amendment, and the common law.

               c. As a matter of both policy and practice, these Defendants facilitate the very type
                  of misconduct at issue in Counts I-XXVI by failing to adequately investigate,
                  punish, and discipline prior instances of similar misconduct, thereby leading
                  Defendants to believe their actions will never be meaningfully scrutinized.
                  Accordingly, in that way, these Defendants directly encourage future use of due
                  process violations, fourth amendment violations, use excessive force, continued
                  failure to intervene, and engagement in conspiracy, such as those that Plaintiff
                  complains of.

               d. Generally, as a matter of widespread practice so prevalent as to comprise
                  municipal policy, Defendants violate the constitutional rights of individuals in
                  a manner similar to that alleged by Plaintiff in Counts I- XXVI on a regular
                  basis, yet these Defendants investigate officer misconduct and make findings
                  of wrongdoing in a disproportionately small number of cases.

       274.    As a result of these Defendants policies and practices, and the unjustified and

unreasonable conduct of the Defendants, Plaintiff JANE DOE, suffered and will continue to suffer

damages including but not limited to money damages, expenses, pain and suffering, loss of normal

life, and severe emotional distress.

       WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant CITY OF OTTAWA in an amount in excess of $75,000 that will fairly and

adequately compensate the Plaintiff for compensatory injuries and damages sustained, for punitive

damages, for attorney’s fees, and for costs of suit.

                              Count XXVII – Respondeat Superior
                              JANE DOE V. CITY OF OTTAWA

       275.    Each and every paragraph of this complaint is incorporated herein to Plaintiff’s

Count XVI.


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       276.    At all times relevant, Defendant JAMES LESS, Defendant BRENT ROALSON,

Defendant STEPHANIE NELSON, Defendant KARI WHALEN, and Defendant SCOTT

HARDEN, were actual agents, apparent agents, employees, and/or servants of Defendant CITY

OF OTTAWA.

       277.     At all times relevant, in committing the acts and omissions alleged in the preceding

paragraphs, Defendant JAMES LESS, Defendant BRENT ROALSON, Defendant STEPHANIE

NELSON, Defendant KARI WHALEN, and Defendant SCOTT HARDEN, acted within the scope

of their agency, employment, and/or service of Defendant CITY OF OTTAWA.

       WHEREFORE Plaintiff, JANE DOE, respectfully prays for judgement in her favor and

against the Defendant CITY OF OTTAWA in an amount in excess of $75,000 that will fairly

and adequately compensate the Plaintiff for compensatory injuries and damages sustained, for

punitive damages, for attorney’s fees, and for costs of suit.

                                              Respectfully Submitted,


                                              ______________________
                                              Sean P. Murray
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